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M. Christie Helmer, OSB No. 743400
chris.helmer@millernash.com
Ian Christy, OSB No. 160116
ian.christy@millernash.com
MILLER NASH GRAHAM & DUNN LLP
3400 U.S. Bancorp Tower
111 S.W. Fifth Avenue
Portland, Oregon 97204
Telephone: 503.224.5858
Facsimile: 503.224.0155

Attorneys for Plaintiff Dry Bulk Singapore PTE. Ltd.

(additional counsel listed on signature page)




                        IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF OREGON

                                     PORTLAND DIVISION

 DRY BULK SINGAPORE PTE. LTD.                     No. 3:19-CV-01671-BR

                    Plaintiff,                    Admiralty

      vs.                                         PLAINTIFF DRY BULK SINGAPORE PTE.
                                                  LTD.’S REPLY IN SUPPORT OF
 AMIS INTEGRITY S.A., in personam and             AMENDED MOTION FOR LEAVE TO
 M/V AMIS INTEGRITY (IMO 9732412),                AMEND THE VERIFIED COMPLAINT
 her engines, freights, apparel, appurtenances,
 tackle, etc., in rem,

                    Defendants.




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                Plaintiff Dry Bulk Singapore PTE. Ltd. (“Dry Bulk”) respectfully submits this

Reply in support of its Amended Motion for Leave to Amend the Verified Complaint.

                                        INTRODUCTION

                As demonstrated in its Motion to Amend (the “Motion,” ECF 108), Dry Bulk

seeks to amend its Verified Complaint to (a) add proposed plaintiff Tradewind GMBH

(“Tradewind”); (b) add defendants Wisdom Marine Lines S.A. (“Wisdom Marine”) and Wisdom

Marine Lines Co. Ltd. (“Wisdom Ltd.,” and together the “Wisdom Entities”); (c) add a claim of

alter ego / veil piercing against and between defendant Amis Integrity S.A. (“Amis”) and the

Wisdom Entities; and (d) update the factual allegations in support of the underlying claims. All

of the amendments are timely and pertain to the tortious interference with Dry Bulk’s rights

caused by the wrongful withdrawal of the M/V AMIS INTEGRITY (“Vessel”) from Dry Bulk’s

custody and control. 1
                     0F




                In response, Amis raises a multitude of challenges pertaining to the limited

considerations set forth in Foman v. Davis, 371 U.S. 178, 182 (1962) and corresponding Ninth

Circuit progeny as to whether Dry Bulk’s amendments are untimely, futile, prejudicial, or made

in bad faith. As discussed below, none of these bases supports denial of leave to amend. Rather,

the amendments proposed by Dry Bulk (at what is still an early phase of this litigation) are both

necessary and appropriate under the liberal standard set forth in Fed. R. Civ. P. 15. Under the

circumstances, and in the interests of justice, the Court should grant Dry Bulk’s Motion and

allow leave to file the Amended Verified Complaint.




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    See Dry Bulk’s proposed Amended Verified Complaint (“AVC”) (ECF 108-1).

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                                          ARGUMENT

       1.      PROPOSED PLAINTIFF TRADEWIND IS A NECESSARY PARTY
               OR, ALTERNATIVELY, A PERMISSIVE PARTY, WHICH
               SHOULD BE JOINED.

               Tradewind has standing to be included as a plaintiff because: (a) Tradewind

provided general financing to Dry Bulk in connection with the transactions at issue, and

(b) Tradewind funded the $350,000 in counter-security posted into the Court’s Registry on

June 17, 2020. See AVC at ¶¶ 4, 10. Tradewind plainly has a financial stake in any recovery

from Defendants.

               Adding Tradewind as a plaintiff would not meaningfully complicate this case or

the discovery conducted herein. Nonetheless, Amis opposes Tradewind’s inclusion in this case,

arguing that Tradewind is not a “necessary party” to this litigation under Fed R. Civ. P. 19, and

that “Tradewind is merely a third-party with no connection to the underlying facts and

circumstances giving rise to Plaintiff’s existing claims.” Opp., p. 6. Amis is mistaken.

               As noted above, Tradewind provided financing to Dry Bulk in connection with

the transactions that form the basis of this lawsuit—i.e., the charterparty and related voyage that

the Vessel would have completed but for Defendants’ tortious interference. Defendants’

wrongful actions impaired Tradewind’s own financial interests based on its funding of the

underlying charterparty and related expenses and Dry Bulk’s assignment of certain of its rights to

Tradewind. Tradewind clearly has a cognizable interest in those funds and expenses, and should

be allowed to join in this matter to prosecute its interests. Tradewind’s inclusion is therefore

appropriate under Rule 19. See CP Nat. Corp. v. Bonneville Power Admin., 928 F.2d 905, 912

(9th Cir. 1991) (holding that a necessary party under Rule 19 is one who has an interest in the



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controversy, and who ought to be made a party, so that the court may finally determine the entire

controversy, and do complete justice, by adjusting all the rights involved in it).

                Tradewind and Dry Bulk are both real parties in interest with respect to the claims

against Defendants. Rule 17(a) of the Federal Rules of Civil Procedure otherwise provides that

“[a]n action must be prosecuted in the name of the real party in interest.” Fed. R. Civ. P.

17(a). Here, Tradewind is a real party in interest with respect to a portion of the amount of

damages alleged against Defendants and for which it has an assignment of rights (i.e., the

amounts it financed to Dry Bulk); Dry Bulk is the party-in-interest for the remainder of damages

claims. Under Rule 17, leave for Tradewind to be added as a plaintiff should be automatic.

                To the extent that Defendants may dispute the validity of the claims that

Tradewind seeks to assert in its own name, or to dispute that Tradewind is entitled to recover any

amounts on its own accord, those are substantive issues that should be resolved after Tradewind

has formally joined the action and the parties have had the opportunity to develop the

record. Indeed, Defendants have not identified any prejudice resulting from Tradewind’s joinder

as a plaintiff. Defendants’ objections to Tradewind’s presence in this case are simply premature

and inappropriate at the pleadings stage.

                Finally, to the extent applicable, the Court may also permit joinder of Tradewind

under Fed. R. Civ. P. 20(a)(1), which allows permissive joinder where a prospective plaintiff

asserts “assert any right to relief jointly, severally, or in the alternative with respect to or arising

out of the same transaction, occurrence, or series of transactions or occurrences and. . . any

question of law or fact common to all plaintiffs will arise in the action.” That is clearly the case

in this matter for the reasons set forth above.



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       2.      DRY BULK’S PROPOSED ALTER EGO AMENDMENTS ARE NOT
               “FUTILE” AND SHOULD BE GRANTED.

               Amis next asserts a multi-pronged argument that Dry Bulk’s amendments are

“futile.” They are not, and this Court should decline Amis’ invitation to deny the proposed

amendments on “futility” grounds.

               A.      The “Futility” Standard.

               A proposed amendment is deemed to be futile only “if no set of facts can be

proved under the amendment to the pleadings that would constitute a valid and sufficient legal

claim or defense.” Sweany v. Ada County, Idaho, 119 F.3d 1385, 1393 (9th Cir. 1997); see also

Miller v. Rykoff-Sexton, Inc., 845 F.2d 209, 214 (9th Cir. 1988). Moreover, a proposed amended

pleading is futile only if “it appears beyond a doubt” that the claims sought to be added would be

dismissed for failure to state a claim. See DCD Programs, Ltd. v. Leighton, 833 F.2d 183, 188

(9th Cir. 1987); see also Miller 845 F.2d at 214 (9th Cir. 1988) (internal citations omitted);

Moore v. Kayport Package Express, 885 F.2d 531, 542 (9th Cir. 1989). With that standard in

mind, “[a] plaintiff should be afforded an opportunity to test his claim on the merits rather than a

motion to amend unless it appears beyond doubt that the proposed amended complaint would be

dismissed for failure to state a claim under Fed. R. Civ. P. 12(b)(6).” See Evers v. Troutman,

No. CV 03-145-BR, 2004 WL 5917590, at *2 (D. Or. Feb. 6, 2004) (Brown, J.) (citing Miller,

845 F.2d at 214) (emphasis added). “It follows, then, that in considering the proposed

amendment, the Court must accept Plaintiff’s factual allegations in the pleading as true.” See

Zoe Marketing, Inc. v. Impressions, LLC, No. 14cv1881 AJB, 2015 WL 12216341, *2 (S.D. Cal.

Jun. 1, 2015) (citing Cahill v. Liberty Mut. Ins. Co., 80 F. 3d 336, 337-38 (9th Cir. 1996)).




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Ultimately, denials of leave to amend based upon futility are “rare.” Zoe Marketing, Inc., 2015

WL 12216341, at *2.

               B.      Dry Bulk’s Alter Ego Claims Against Amis and the Wisdom
                       Entities are Adequately Pled and Not Futile.

               Amis improperly seeks to force Dry Bulk into definitively proving its alter ego

claims now “on the merits” by demonstrating that its alter ego claims against the Defendants are

not “futile.” But that strawman argument flips the burden of proof: Amis, not Dry Bulk, has the

burden of proving futility. See Nunes v. Ashcroft, 375 F.3d 805, 808 (9th Cir. 2004) (party

opposing the amended complaint bears the burden of showing futility). In any event, Amis’s

attempt to counter Dry Bulk’s alter ego allegations should be raised via a motion to dismiss after

the Wisdom Entities have been served with process, rather than in an opposition to Dry Bulk’s

motion for leave to amend.

               Putting aside that procedural issue, Amis fails to meet its burden to demonstrate

that Dry Bulk’s alter ego amendments would be futile. “Admiralty courts may pierce the

corporate veil in order to reach the ‘alter egos’ of a corporate defendant.” OS Shipping Co. v.

Glob. Mar. Tr.(s) Private Ltd., No. 11-CV-377-BR, 2011 WL 1750449, at *6 (D. Or.

May 6, 2011) (Brown, J.) (quoting Chan v. Soc’y Expeditions, Inc., 123 F.3d 1287, 1294 (9th

Cir. 1997). Alter ego liability exists either “when the corporate form is used to perpetuate a

fraud or when one corporate entity exhibits ‘total domination of the subservient entity.’” OS

Shipping, 2011 WL 1750449, at *6 (citing Chan, 123 F.3d at 1294). Notably, in the context of

alter ego, “fraud” can be established by demonstrating fraud in the use of an entity’s corporate

form, particularly when the entity attempts to avoid its obligations. Id. at *12. There is no

mechanistic formula that applies to the alter-ego analysis, and there are no minimum number of


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factors that must be satisfied. U.S. v. Standard Beauty Supply Stores, Inc., 561 F.2d 774, 777

(9th Cir. 1977) (“Issues of alter ego do not lend themselves to strict rules and prima facie cases.

Whether the corporate veil should be pierced depends on the innumerable individual equities of

each case.”).

                In attacking the sufficiency of Dry Bulk’s alter ego allegations, Amis argues that

Dry Bulk failed to assert specific allegations of fraud as between Amis and the Wisdom Entities

and allegations regarding the time, place, content of communications, and identities of the

defendants who made the representations. Opp., pp. 8-9. But Amis is wrong. The AVC alleges

numerous facts demonstrating that the Wisdom entities dominate and control Amis, and are

therefore alter egos of Amis, as well as other instances in which representatives of Wisdom

Marine and Wisdom Ltd. directed the wrongful termination of the charterparty at issue.2 To

briefly summarize:

               Wisdom Marine is Amis’s parent company and is the active

                manager, operator, and beneficial owner of the Vessel. Wisdom

                Ltd. is the parent company of Wisdom Marine. AVC ¶ 7.

               All three entities operate collectively, along with other affiliated

                entities, as part of a single business entity known as the “Wisdom

                Marine Group.” AVC ¶ 44.




2
 See AVC, ¶¶ 11-14, 26-31, 46-48; see also Mot., pp. 6-9, which are incorporated herein by
reference. Dry Bulk notes that Amis amended its Initial Disclosures on July 17, 2020, the same
date it filed its Opposition, to highlight that certain Wisdom-affiliated individuals are in fact
employed by another Wisdom entity called “Wisdom Marine International Inc.”
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               All three entities share common key personnel, including

                individuals identified in Amis’s initial disclosures as relevant

                witnesses. AVC ¶ 44.

               All three entities share the same office, physical address, and

                website, among other things. AVC ¶ 44.

               Employees of the Wisdom Entities made all of the decisions

                related to the wrongful withdrawal of the Vessel that led to this

                dispute. AVC ¶¶ 29, 45.

               The Wisdom Entities were the beneficiaries of the alleged unjust

                enrichment—a profit of at least $800,000, plus savings of the

                positioning costs of at least $950,000. AVC ¶ 30.

                These facts, among others, demonstrate that far from being separate entities, Amis

is a mere appendage of the Wisdom Entities and acted solely at the direction of the Wisdom

Entities to serve their economic interests. The Wisdom Entities abused the corporate form to

totally dominate and control Wisdom Marine and caused it to fraudulently and wrongfully

terminate the Dry Bulk charter at issue, thereby injuring Dry Bulk.

                Amis submits the declaration of Wisdom Ltd.’s CFO, Bruce Hsueh (“Hsueh

Declaration,” at ECF 110), in an effort to counter these allegations and demonstrate the alleged

“corporate separateness” between Amis, Wisdom Marine, and Wisdom Ltd. Putting aside the

fact that the Court must accept Dry Bulk’s factual allegations as true for purposes of evaluating

the motion sub judice (and not Mr. Hsueh’s), the Hsueh Declaration is nothing more than self-

serving commentary, which is insufficient at this stage to nullify the allegations set forth in the

AVC. Ironically, Amis criticizes undersigned counsel for now representing both Dry Bulk and
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proposed-plaintiff Tradewind (Opp., p. 7), but, reciprocally, Amis proffers the declaration of

Mr. Hsueh—the CFO of Wisdom Ltd. and Director of Wisdom Marine—even though these

entities have yet to appear in the case. Hsueh Decl., pp. 1-2. The fact that Amis and the Wisdom

Entities use the same lawyers, the same personnel to make declarations, and chorus in one

coherent voice lends further credence to Dry Bulk’s alter ego claim.

               The contents of Mr. Hsueh’s declaration also bolster Dry Bulk’s alter ego claim.

Mr. Hsueh admits there is indeed “some overlap” between the various Defendants, and that he

personally wears multiple hats at each entity by sitting on the boards of Wisdom Marine and

Amis (and, of course, serving as the CFO to Wisdom Ltd.). Id., at ¶ 2 and n. 1. He also notes

that Wisdom Marine “facilitated” the charter of the Vessel to 24 Vision and to a separate

company after the arrest at issue. Id. at ¶ 6. He further claims that various unnamed vessel

Owners “had no choice but to withdraw” the time charters of their separate vessels when 24

Vision allegedly failed to pay these Owners charter hire. Id. at ¶ 18. Of course, the “facilitation”

of the charter of the Vessel by Defendants to other parties beyond Dry Bulk, the events

surrounding the withdrawal of the Vessel(s) by Amis and other Wisdom-related “Owners,” and

the alleged reasons for the withdrawal(s) are all hotly contested issues in this case. The Wisdom

Entities’ apparent involvement in such matters (as vaguely described by Mr. Hsueh in his

declaration) directly supports Dry Bulk’s alter ego claims.

               Amis also argues that Dry Bulk “fails to plausibly state that veil-piercing is

required to avoid an injustice,” pointing to the $2.5 million security bond that has been posted in

the matter. Opp., p. 11. That argument is specious at best. The surety bond only secures a

potential in rem judgment against the Vessel and is capped at $2,500,000. ECF 40-1. The

parties negotiated the surety bond security following an emergency Rule E(4)(f) hearing, but that

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is not the limit on Dry Bulk’s claims or recoverable damages in this action, which are currently

estimated to be no less than $3,760,938, plus interest and costs. See AVC, pp. 9-12. Moreover,

Dry Bulk has pleaded separate in personam claims against Amis, Wisdom Marine, and Wisdom

Ltd. for tortious interference with contract, conversion, and unjust enrichment, and there is no

separate security posted for those claims. As such, Amis’s statement (at p. 12) that Dry Bulk’s

alter ego claims “arise from nothing more than a simple (alleged) breach of contract” is

inaccurate. Dry Bulk has not asserted a claim for breach of contract, but has instead asserted the

torts referenced above arising out of Amis and the Wisdom Entities’ wrongful withdrawal of the

Vessel, which in turn wrongfully deprived Dry Bulk’s use of it. Accordingly, Dry Bulk’s

allegations of an alter ego relationship between and among Amis, Wisdom Marine and Wisdom

Ltd. should stand, and the Wisdom Entities should be added as defendants to this action to

preserve Dry Bulk’s right of recovery on its claims beyond the partial security covered by the

surety bond.

               C.      In the Alternative, the Court Should Allow Expedited Discovery
                       Regarding Dry Bulk’s Alter Ego Allegations.

               As demonstrated above, Dry Bulk has met its burden to plead sufficient facts in

support of its alter ego claims against the Defendants; reciprocally, Amis has failed to prove that

such claims are “futile” for purposes of this motion to amend. If the Court deems it necessary

for purposes of resolving this Motion, however, Dry Bulk should be permitted to take limited

discovery to further develop the factual record in this case and examine the corporate

relationships between and among the Defendants.




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               Notably, Your Honor allowed limited alter ego discovery to occur in OS Shipping

under analogous circumstances. During an initial Supp. Adm. R. E(4)(f) hearing in that case, the

Court stayed a similarly situated defendant’s motion to vacate pending discovery and held:

               The plaintiff is hampered because the plaintiff can only know so
               much, given the posture of the case. And it may seem -- it may be
               fair to give them a brief opportunity to in fact inquire under oath of
               those declarants on whom you're relying and to ask questions
               about the pertinent issue, which is the elements of alter ego
               liability and what -- what might relate to that.

See OS Shipping, USDC-D. OR, Case No. 11-cv-377-BR, ECF 30-2 Hr’g Tr. at p. 30. A similar

grant of discovery on alter ego issues here is warranted in the event that the Court has ongoing

questions regarding the sufficiency of the alter ego allegations in the AVC.

               Courts in the Ninth Circuit have allowed discovery of alter ego issues under

similar circumstances. In Twentieth Century Fox Int'l Corp. v. Scriba, 385 F. App’x 651, 652-53

(9th Cir. 2010), the Ninth Circuit vacated a district court’s dismissal of the action on personal

jurisdiction grounds, ruling that discovery over alter ego issues “is required before the district

court can adequately determine whether personal jurisdiction over [the defendant] exists.” In

another matter in this Circuit, District Judge Alsup (of the Northern District of California) issued

an Order holding defendants’ motions to vacate a maritime attachment in abeyance pending

jurisdictional discovery. KPI Bridge Oil Sing. PTE Ltd. v. Berlian Laju Tanker TBK PT,

No. C 12-00710 WHA, 2012 U.S. Dist. LEXIS 37751 (N.D. Cal. Mar. 20, 2012). In that matter,

plaintiff alleged, in relevant part, that one defendant controlled the other and that the defendants

failed to maintain corporate formalities. Id. In allowing limited jurisdictional discovery,

Judge Alsup held:

               Plaintiff seeks leave to conduct limited discovery into the
               relationship between Marina and Berlian, to support its alter ego
               allegations. Our court of appeals has held that, in general,
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                “where further discovery on [the] issue might well demonstrate
                facts sufficient to constitute a basis for jurisdiction,” denial of
                jurisdictional discovery will be an abuse of discretion. Harris
                Rutsky & Co. Ins. Services, Inc. v. Bell & Clements Ltd., 328 F.3d
                1122, 1135 (9th Cir. 2003). Without ruling on defendants’
                evidentiary objections, this order finds cause to allow limited
                jurisdictional discovery on the issue of defendants’ alleged alter
                ego relationship. … Plaintiff is not tasked, at this stage, with
                proving the merits of its claims, but rather their sufficiency. Absent
                express direction to the contrary, there is no reason to restrict the
                discretionary grant of limited jurisdictional discovery on the facts
                presented here.

Id., at *11-14 (emphasis added); see also Kite Shipping LLC v. San Juan Navigation Corp.,

No. 11cv02694 BTM (WVG), 2012 U.S. Dist. LEXIS 96199, at *19-21 (S.D. Cal. Sept. 13,

2012) (holding that denial of plaintiff’s request for limited discovery on plaintiff’s alter ego

theory was an abuse of discretion and granting expedited jurisdictional discovery on the alter-ego

allegations).

                Based upon the above, and only if the Court deems necessary, the Court should

allow Dry Bulk to file its AVC, after which point limited discovery could occur on the alter ego

allegations.

       3.       THE COURT HAS PERSONAL JURISDICTION OVER THE
                WISDOM ENTITIES, AND THEY MUST BE ADDED AS PARTIES
                TO THIS LITIGATION.

                Amis separately argues that Dry Bulk’s attempt to add the Wisdom Entities to this

dispute is “futile” because, purportedly, neither entity is subject to the Court’s personal

jurisdiction. As an initial matter, that argument is premature. Amis cites no controlling authority

for the proposition that a personal jurisdiction challenge may be asserted in an opposition to a

motion for leave to amend a complaint, or that such a challenge is a factor to be considered under

Foman and its progeny. That is because a challenge to personal jurisdiction is more

appropriately raised in a motion to dismiss following service of process of a complaint, rather

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than in an opposition to a motion for leave to amend. See, e.g., William W. Schwarzer, et al.,

Practice Guide; Federal Civil Procedure Before Trial § 8:422; see also Rule 12(b)(2).

               As the Court is aware from the procedural history of this case, Amis has filed a

motion to dismiss for lack of personal jurisdiction (and improper service), which the Court

stayed to allow for the appearance of new counsel for Dry Bulk (i.e., the undersigned counsel).

See ECF 83, 89. Dry Bulk has not responded to Amis’s motion to dismiss, as it has sought to

amend its complaint as outlined herein. Under the circumstances, and for the sake of efficiency,

Amis’s motion to dismiss can only be addressed effectively by Dry Bulk (and the Court) after

Dry Bulk has amended the Verified Complaint. Once that occurs, Amis and the Wisdom Entities

can file an updated motion to dismiss, if necessary, to which Plaintiffs will respond in kind.

               Putting aside these procedural issues, Amis’s argument also fails on the merits.

Amis argues that exercising jurisdiction over the Wisdom Entities based on their “national

contacts” under Fed. R. Civ. P. 4(k)(2) does not comport with due process. See Opp., pp. 15-17.3

To the contrary, the Tsolakis Declaration (see ECF 81, ¶¶ 16-32) sets forth the Wisdom Entities’

extensive national contacts (and, indeed, Oregon contacts), which are more than sufficient to

pass the Rule 4(k)(2) hurdle. See Mot., pp. 15-17. In any event, Dry Bulk should be afforded

the opportunity to address this issue in more detail in the more appropriate setting of a response

to the Defendants’ future motion to dismiss.




3
 “The constitutional requirements are the same under Rule 4(k)(2) as the minimum contacts
analysis applied in normal jurisdictional inquiries, but the analytic exercises are performed with
reference to the United States as a whole, rather than the reference to a particular state.” See
Seiko Epson Corp. v Print-Rite Holdings, Ltd., 2002 WL 32513403, *11 (D. Or. Apr. 30, 2002)
(Brown, J.) (internal citation omitted).
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               Amis goes on to claim that “the nature of the charter is fundamental to the general

jurisdiction analysis,” citing Porina v. Marward Shipping Co., 521 F.3d 122, 128 (2d. Cir.

2008), for the proposition that a vessel owner is not subject to the jurisdiction of a U.S. court in

instances where a charterer coincidentally directs the movement of a particular vessel. But in

Porina, the defendant allowed the plaintiff to amend its complaint and the plaintiff was permitted

to conduct jurisdictional discovery before the court ruled on the defendant’s motion to dismiss.

See Porina v. Marward Shipping Co., USDC-SDNY Case No. 05cv5621, ECF 22, Aug. 24, 2016

Order, p. 1 (Unpublished). In light of this vastly different procedural posture, the court’s

ultimate decision in Porina is irrelevant to the current issue before the Court—whether the Court

should permit Plaintiffs to add the Wisdom Entities to this action by way of a motion to amend.

As set forth above, Plaintiffs should be permitted to do so.

               Accordingly, Dry Bulk should be allowed to add the Wisdom Entities as

defendants to this action via the requested amendments to the Verified Complaint.

               A.      If Necessary, Jurisdictional Discovery is Warranted Once the
                       Wisdom Entities Appear in the Action.

              Should the Court determine that the contacts presently identified on the record do

not yet establish personal jurisdiction over the Wisdom Entities, Dry Bulk alternatively requests

leave of the court to conduct jurisdictional discovery. “[W]here issues arise as to jurisdiction or

venue, discovery is available to ascertain the facts bearing on such issues.” Oppenheimer Fund,

Inc. v. Sanders, et al., 437 U.S. 340, 352 n.13 (1978). “Discovery . . . ‘should be granted where

pertinent facts bearing on the question of jurisdiction are controverted . . . or where a more

satisfactory showing of the facts is necessary.’” Wells Fargo & Co. v. Wells Fargo Exp. Co.,




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556 F.2d 406, 430 n.24 (9th Cir. 1977) (internal citations omitted). 4 A district court is vested
                                                                     4F




with broad discretion to permit jurisdictional discovery. Laub v. U.S. Dep't of the Interior, 342

F.3d 1080, 1093 (9th Cir. 2003). Such discovery “should ordinarily be granted where pertinent

facts bearing on the question of jurisdiction are controverted or where a more satisfactory

showing of the facts is necessary.” Id. (quotation marks and citation omitted).

               In light of Laub, district courts in the Ninth Circuit have held that a plaintiff need

not establish a prima facie case of personal jurisdiction before it can obtain jurisdictional

discovery. See, e.g., eMag Solutions, LLC v. Toda Kogyo Corp., No. 02 Civ. 1611, 2006 U.S.

Dist. LEXIS 94462, at *2 (N.D. Cal. Dec. 21, 2006) (noting that it would be “counterintuitive to

require a plaintiff, prior to conducting discovery, to meet the same burden that would be required

to defeat a motion to dismiss”) (emphasis in original) (quotation marks and citation omitted). A




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  Dry Bulk anticipates that limited discovery would reveal additional national and Oregon
contacts that would further support this Court’s exercise of personal jurisdiction over the
Wisdom Entities. For instance, Dry Bulk expects discovery would at a minimum reveal the
precise number of Wisdom Marine managed vessels which called at United States and Oregon
ports; the amount of hire or freight earned for those calls; the prior knowledge and consent of
Wisdom Marine for their Vessels to call at U.S. ports; the business dealings with the three (3)
global commodities traders cited on the Wisdom Marine website who are either headquartered or
otherwise do business in the U.S. and have offices in Oregon; the requirements imposed by
Wisdom Marine’s crewing department to ensure that all prospective crewmembers hold valid
U.S. visas in order to be employed on Wisdom Marine vessels; and the amounts paid to local
vendors by Wisdom Marine for services and materials supplied to Wisdom Marine managed
vessels. Where a foreign entity “reaches out” to an entity within the forum, the foreign entity
should reasonably expect to be haled into court. See Central Freight Lines v. APA Transport
Corp., 322 F.3d 376, 382 (5th Cir. 2003), see also College Source, Inc. v. Academy One, Inc., 65
F.3d 1066, 1078-79 (9th Cir. 2011), Ballard v. Savage, 65 F.3d 1495, 1499 (9th Cir. 1995) (“By
intentionally doing business with California and U.S. residents, [defendant] ‘purposefully availed
itself of the benefit and privilege of conducting activities in California’ and the U.S.”). Dry Bulk
also anticipates that further discovery will present a basis for the Court’s exercise of specific
jurisdiction as, at a minimum, the events giving rise to Dry Bulk’s unjust enrichment claim were
still occurring as of October 2019 when the Vessel called in the District and was arrested. See
Fn. 3 of Tsolakis Decl.
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plaintiff need only make out a “colorable basis” for jurisdiction, or “some evidence” that makes

out some lesser showing than a prima facie case. Calix Networks, Inc. v. Wi-Lan, Inc., No. C-09-

06038-CRB (DMR), 2010 U.S. Dist. LEXIS 97657, at *4 (N.D. Cal. Sept. 8, 2010).

Accordingly, should the Court require additional evidence of a systematic and continuous course

of dealing by the Wisdom Entities in the United States, jurisdictional discovery should be

granted to allow the parties to conduct limited discovery pertaining to the Wisdom Entities’

continuous and systematic general business contacts with the forum.

       4.      AMIS HAS FAILED TO PROVE THAT PLAINTIFFS DELAYED
               IN FILING THE PROPOSED AMENDMENTS.

               “Delay alone, no matter how lengthy is an insufficient ground for denial of leave

to amend.” U.S. v. Webb, 655 F. 2d 977, 980 (9th Cir. 1981). Indeed, the Webb court noted that

“the mere fact that an amendment is offered late in the case is . . . not enough to bar it.” Id. at

980, citing 3 Moore's Federal Practice § 15.08(4) at 15-102. Moreover, in Howey v. U.S., 481

F.2d 1187, 1190-92 (9th Cir. 1973), the court held that a district court had abused its discretion

in denying leave to amend even five years after the original pleadings, when neither bad faith nor

prejudice was apparent.

               Here, Dry Bulk has acted expeditiously in seeking leave to amend. Amis is

correct that on Oct. 17, 2019, Dry Bulk filed a copy of the sub-charter at issue as Exhibit 1 to the

original Verified Complaint, which referenced Wisdom Marine. See ECF 1-2. However, the

parties then spent the next three months engaged in hotly contested motion practice concerning

Amis’s emergency motion to vacate the arrest of the vessel, and thereafter the countersecurity

demanded by Amis. See ECF 2 through 59. On March 3, 2020—just over four months after the

start of the case—Dry Bulk filed its first motion for leave to file an amended complaint to add


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Wisdom Marine. ECF 61. Dry Bulk has since amended that motion to add Wisdom Ltd. and the

alter ego allegations at issue.

                Accordingly, given that limited passage of time and the intervening events and

motion practice, Dry Bulk has not unduly delayed in seeking leave to amend.

        5.      AMIS HAS FAILED TO DEMONSTRATE UNDUE PREJUDICE
                OR BAD FAITH.

                Amis’s vague assertions of “undue prejudice” and “bad faith” are without merit.

                Amis argues that Dry Bulk’s proposed amendments will “drastically expand and

alter” the scope of the litigation and inevitably cause additional discovery, delay and defense

costs. Amis further argues that the alter ego allegations have no relation to the claims set forth in

the original complaint and will “force” the employees of the Wisdom Entities to take time away

from their normal work duties to deal with the new allegations. Opp., p. 20. However, these

vague allegations are inaccurate and in any event do not warrant denial of leave to amend.

                In the context of a motion for leave to amend a complaint, undue prejudice is

typically found when the proposed amendments are made shortly before or after the close of

discovery. See Zivkovic v. S. Cal. Edison Co., 302 F.3d 1080, 1087 (9th Cir. 2002) (affirming

denial of motion for leave to amend when filed five days before close of discovery); DCD

Programs, Ltd. v. Leighton, 833 F. 2d 183, 186 (9th Cir. 1987) (prejudice found where

amendment filed within days of discovery cutoff and less than three months before trial). In

contrast, the discovery deadline in this case is not until December 11, 2020, and as such the

proposed amendments can hardly be said to be “prejudicial” as they have been timely filed long

before the close of the discovery window.




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               Amis otherwise claims that the alter ego amendments will “change” the nature of

this case, but that suggestion is also inaccurate. A “proposed new claim for alter ego liability

does not change the nature of the case; rather, it only seeks to impose personal liability, as

opposed to holding Defendant solely liable.” See Zoe Marketing, No. 14cv1881 AJB (WVG),

2015 WL 12216341, *5 (S.D. Cal., Jun. 1 2015) (adding alter ego claims against parties related

to defendant would not be “prejudicial” for purposes of Rule 15). In any event, the Wisdom

Entities are indisputably related to Amis, and it is clear from the discovery produced thus far that

the Defendants share many of the same employees. Moreover, Dry Bulk has alleged that key

personnel amongst Defendants were involved in the dispute at issue. See Mot., pp. 6-9. This

fact alone undercuts Amis’s argument that the Wisdom Entities’ employees will face an

increased burden participating in the case because they already are participating in the case.

               Amis is also wrong in arguing that Dry Bulk has acted in bad faith and “falsely

claimed” to have only recently obtained information to support the amendment. As

demonstrated above, Dry Bulk’s amendments were not filed with undue delay, and Amis has

asserted a valid basis for adding the Wisdom Entities to the litigation. Aside from conclusory

statements, Amis has failed to produce any evidence whatsoever of any bad faith on the part of

Dry Bulk that would warrant a denial of the motion to amend.

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                                     CONCLUSION

             For the reasons more fully stated above, and in the Motion and supporting

memorandum, Dry Bulk respectfully requests that the Court grant Dry Bulk’s Amended Motion

for Leave to Amend Verified Complaint.

 DATED:       July 24, 2020                    Respectfully submitted,


                                               MILLER NASH GRAHAM & DUNN LLP

                                                s/ Ian M. Christy
                                               M. Christie Helmer, OSB No. 743400
                                               chris.helmer@millernash.com
                                               Ian M. Christy, OSB No. 160116
                                               ian.christy@millernash.com
                                               Phone: 503.224.5858
                                               Fax: 503.224.0155

                                               and

                                              BLANK ROME LLP

                                               s/ John D. Kimball____________________
                                              John D. Kimball, pro hac vice
                                              jkimball@blankrome.com
                                              1271 Avenue of the Americas
                                              New York, New York 10020
                                              Telephone: 212.885.5000
                                              Facsimile: 212.885.5001

                                               and

                                              Jeremy A. Herschaft, pro hac vice
                                              jherschaft@blankrome.com
                                              Zachary Cain, pro hac vice
                                              zcain@blankrome.com
                                              717 Texas Avenue, Suite 1400
                                              Houston, Texas 77002
                                              Telephone: 713.632.8655
                                              Facsimile: 713.228.6605

                                     Attorneys for Plaintiff Dry Bulk Singapore
                                     PTE. Ltd.
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